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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                 EVANSVILLE DIVISION


 UNITED STATES OF AMERICA,                    )
                                              )
                       Plaintiff,             )
                                              )
        vs.                                   )       3:08-cr-0030-RLY-WGH-4
                                              )
 JUSTIN MCGHEE,                               )
                                              )
                       Defendant.             )


                ORDER ADOPTING REPORT AND RECOMMENDATION

        Having reviewed Magistrate Judge Denise K. LaRue’s Report and Recommendation that

 Justin McGhee’s supervised release be modified, pursuant to Title 18 U.S.C. §3401(i), Rule

 32.1(a)(1) Federal Rules of Criminal Procedure and Title 18 U.S.C. §3583, the court now approves

 and adopts the Report and Recommendation as follows:

        (1) For a period of time up to 120 days, the Defendant will reside at the Volunteers of

        America (“VOA”), where he will follow all rules given to him by the VOA and U.S.

        Probation.

        (2) During Mr. McGhee’s residence at the VOA, U.S. Probation shall review Mr. McGhee’s

        compliance with the rules of the VOA every 30 days.

        (3) Should U.S. Probation determine that Mr. McGhee has fully complied with the rules of

        the VOA, Mr. McGhee could be released from the VOA prior to the completion of the 120

        day period, at the discretion of U.S. Probation.
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        (4) All of the other terms and conditions of Mr. McGhee’s supervised release in full force

        and effect.



        SO ORDERED this 30th day of April 2013




                                             RICHARD L. YOUNG, CHIEF JUDGE
                                             United States_________________________________
                                                            District Court
                                             Southern District of Indiana
                                                         RICHARD L. YOUNG, CHIEF JUDGE
                                                         United States District Court
                                                         Southern District of Indiana



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 U. S. Parole and Probation

 U. S. Marshal Service




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